EXHIBIT 7
                                          May 22, 2024

VIA EMAIL
AUSA Emily Johnson
AUSA Mitzi Steiner
AUSA Madison Smyser
AUSA Meredith Foster
United States Attorney’s Office
Southern District of New York
26 Federal Plaza, 37th Floor
New York, NY 10278

       Re:     Investigation of Sean Combs

Dear AUSAs Johnson, Steiner, Smyser and Foster:

        As we discussed last week, Mr. Combs will be traveling from Miami to Los Angeles on
May 27, 2024, to attend his daughter’s high school graduation. He will be traveling to Los Angeles
in his private airplane. On this point, we write to follow up on our phone call yesterday, where we
advised you that efforts have begun to sell this airplane, which is owned by a single member LLC
called Love Air. Because selling a plane takes some time, we will keep you updated as to the
progress of this sale. As we advised you in early April 2024, this firm took possession of, and
continues to have possession of, Mr. Combs’s passport.

       Please let us know if you have any further questions.

                                          Respectfully,



                                          Marc Agnifilo
                                          Teny Geragos
